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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF DELAWARE

 

 

MICHAEL C, TRIMARCO,

Plaintiff,
Vv. Case No. 1:20-cv-01408-RGA

TRIAL BY JURY IS DEMANDED

 

MICHAEL T. FARLEY,

SHAWN PATRICK CARDEN, | || [L[S D

MICHAEL A. HILMER,

 

 

 

 

 

CHRIS CICOLINI -and- a
ASHISH KAPOOR MAR O02 Ae
Defendants. | \
US DISTRICT COURT

 

 

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FARLEY’S OBJECTION TO MOTION TO ADMIT SiEVEN BISS PROWAREICE

1. INTRODUCTION

This defendant has moved to disqualify Mr. Biss, which motion is presently pending. The
response is due on or about March 10, 2021.
For the sake of brevity, this objection adopts and incorporate the facts and analysis

contained in the Motion to Disqualify (Docket #17).

In addition to the issues discussed therein, there are several additional facts which operate

to disqualify Mr. Biss from practicing law in Delaware.
The Agnew Matter

The 2017 Agnew matter is significant to this court’s review of the pro hac vice motion
because it depicts hallmarks of Steven Biss litigation — bad faith, misrepresentations, prolonged
proceedings and meritless claims, with some inexcusable neglect thrown in for good measure.

In Agnew v. United Leasing, CA 2:14-00525 AWA-DEM (ED. Va. 2015) (Ex. A), Mr. Biss
represented the plaintiffs in a case where plaintiffs sought to avoid personal liability for a

confessed judgment. In that case, the court granted summary judgment against Mr. Biss’ client

 

 
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after lengthy proceedings'. The court noted that Mr. Biss and/or his client presented a heavily
redacted excerpt of an earlier litigation. The court wrote that these “submissions made by
Plaintiffs appear to constitute intentional misrepresentation or attempted deception.” It
specifically found that plaintiff’s representations prolonged the litigation, and that those
representations appear “intentionally misleading.”

It is noted that the redacted excerpts of the transcript from the August 23, 2007 hearing
before Judge Shockley—those that the Agnews raised in opposition to ULC's Motion to
Dismiss—inadequately presented the posture of the 2007 Virginia Beach Action.
Moreover, the submissions made by Plaintiffs appear to constitute intentional
misrepresentation or attempted deception. The Agnews' representations in opposition to
ULC's Motion to Dismiss have prolonged this litigation. The Court is dismayed that
Plaintiffs' representations appear intentionally misleading, and may have been
designed to cause unnecessary delay. Accordingly, Defendant is directed to prepare a
Judgment regarding this case. The Judgment shall include a proposed award of
sanctions payable by plaintiffs' Counsel to defense Counsel. This award shall reflect
defense Counsel's estimate of their costs incurred in preparing their Summary
Judgment briefing. The draft Judgment shall be filed within thirty days of this Order.
Plaintiffs' Counsel shall file its response within fourteen days after the draft Judgment
is filed.

Agnew v. United Leasing, CA 2:14-00525 AWA-DEM (ED. Va. 2015) (November 13, 2015

 

Order at fn4) (emphasis added),

Mr. Biss appealed that sanction to the Fourth Circuit Court of Appeals in Agnew v.
United Leasing, 4" Cir. 2015-02554, (February 22, 2017) (Ex B). The sanction against Mr. Biss

and/or his clients were upheld. In that case, the 4". Circuit wrote in an Unpublished Opinion:

 

1 The enforcement of the agreement against Mr. Biss’ client took seventeen (17) years, including
ten (10) years of state and federal litigation. As written by the Fourth Circuit:
This appeal arises out of an agreement entered into nearly seventeen years ago and
follows almost a decade of litigation in state and federal courts. At this stage, the
plaintiffs’ claims are simply meritless.
_ Agnew v. United Leasing, 4" Cir. 2015-02554, (February 22, 2017) (emphasis added).
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matter, Attorney Feingold sued Mr. Biss for slander. According to the complaint, Mr. Biss
appears to have attempted to extort witnesses into falsely testifying that Attorney Feingold
laundered money.? We call the court’s attention to Docket Entry #4, which is Attorney
Feingold’s Memorandum in Opposition to Motion to Dismiss (Ex C). More specifically, we call
the court’s attention to the notarized Affidavit of David Feingold at pages 57-61 where Mr.

Feingold outlines Mr. Biss’ efforts at extortion.

In particular, Biss gloated that 1) he had an association with a convicted felon and the
ability to purchase and influence public officials 2) he was planning to engage ina
scheme with his convicted felon partner to purchase the mortgage of his enemy Paul
Sloan and there after evict Mr. Sloan 3) he was attempting to influence the US attorney
to prosecute Paul Sloan 4) he threatened to initiate a bar complaint or find someone
that would initiate a bar complaint on any lawyer that would pursue him or challenge
him 5) he threatened to file baseless litigation to bankrupt Feingold and said he could
load on the lawsuits just as he did to Sloan 6) he even gloated that he has been reported
to the Virginia Bar on numerous occasions and he does not care because they will not
do anything. 7) he further gloated that he had been found by federal judges to have
acted improperly but no one has ever really punished him so he will continue to act
however he wants. 8) he also further gloated that he had filed lawsuits on behalf of
people he does not even represent one of which was dead and that he will continue to
use that tact if necessary.

In short, Biss gloated that he has a history of illegal conduct and if F eingold did not
simply assist Biss, that Biss would turn all of those tacts towards Feingold. ... Feingold
advised Biss that Biss had no evidence, that his threats were ridiculous . . .. Biss’ final
statement was that he was able to convince the present “group of idiots” he represented
to actually pay him a retainer and he would continue to search for clients to sue
Feingold if Feingold would not simply help him against Sloan.

Affidavit of David Feingold (March 1, 2006), Feingold v. Biss, 9:06-cv-80170-JIC

(Southern District of Florida), Docket Entry #4, March 3, 2006, pp. 59-60.

 

2 We respectfully note that a review of the Florida Bar Disciplinary records showed no record of public discipline
against Attorney David Feingold. We further note that this is in marked contrast to the disciplinary record of Mr.
Biss which is heavily marred by two lengthy suspensions and a public censure, as well as myriad admonitions from

. judges around the country.

 

 
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In addition, Sean Zausner provided a notarized affidavit which further describes an

extortionate scheme by Steven Biss:

Biss stated that he would be suing me if I did not help him and sign an affidavit against
Sloan and Feingold. I asked Biss what he wanted in the affidavit and Biss said he
wanted me to sign an affidavit that said Sloan stole $4.6 million and wired that money
to the Bahamas and that Feingold taught him how to do that. I told Biss that was
ridiculous and then I would not sign such a statement. Biss then stated Sloan is a
criminal he wired $4.6 million to the Bahamas and Biss claimed to have written proof
of that. Biss further stated that Feingold is a criminal as he knows Sloan did this and
Feingold is Sloan’s personal lawyer and he will not tell me where Sloan’s put all of the
money and therefore Feingold is a criminal because he knows how Sloan stole the
money and Feingold showed Sloan how to launder money and I have written proof of
Feingold doing that.

Biss told me that if I did not sign an affidavit to help him, that he would then find a way
to sue me. Biss further stated that he has had lots of trouble with the law and courts in
the past and that does not bother him and I better rethink my position because Biss will
do anything and pursue me as well.

Affidavit of Sean Zausner (March 1, 2006), Feingold v. Biss, 9:06-cv-80170-JIC (Southern

District of Florida), Docket Entry #4, March 3, 2006, pp. 59-60.

I. CONCLUSION

Mr. Biss lacks the character, trustworthiness, civility and competence to practice in the Delaware
federal court. For all of the reasons cited in this Defendant’s Motion to Disqualify (Docket #17),
as well as the reasons cited herein, we respectfully urge the court to exercise its discretion, and

deny Mr. Biss’ pro hac vice application.

 
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WHEREFORE, given the volume of Mr. Biss’ suspensions from the practice of law as well as
the allegations of misconduct, sanctions, censures and attorney discipline levied against him, the —

defendant respectfully requests that the court:

a. Conduct a hearing with witnesses to determine whether Mr. Biss possesses the moral
character, truthfulness, civility and competence expected of attorneys practicing in
Delaware federal court; or

b. That any pro hac vice motion be denied; and/or

c, That the court enter such other relief as deemed appropriate.

The defendant, pro se

/s/Michael Farley
Michael Farley

One Courthouse Square
Newport, RI 02840
mfarleyesq@yahoo.com
401-835-8775
CERTIFICATION
The defendant certifies that it delivered a copy of the foregoing document via electronic mail to
opposing counsel on February 27, 2021 to the following addresses:
‘Ryan Ernst, Esq. rernst(@oelegal.com
/s/Michael Farley

 
